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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
_______________________________________
                                        )
DEETZ FAMILY, LLC,                      )
                                        )         CIVIL ACTION
                  Plaintiff,            )
                                        )         NO. 16-10790-TSH
                   v.                   )
                                        )
RUST-OLEUM CORPORATION,                 )
                                        )
                   Defendant.           )
______________________________________ )

    ORDER AND MEMORANDUM ON DEFENDANT’S MOTION TO DISQUALIFY
                     COUNSEL (Docket No. 104)

                                          October 29, 2018

HILLMAN, D.J.


       Rust-Oleum Corporation (“Defendant”) moves, pursuant to the Massachusetts Rules of

Professional Conduct 3.7 and Massachusetts Local Rule 83.6.1(a), 1 to disqualify Deetz Family,

LLC’s (“Plaintiff”) attorney Eugene Winters on the grounds that he will likely be a necessary

witness at trial. For the reasons that follow, Defendant’s motion (Docket No. 104) is denied.

                                            Background

       Dayton J. Deetz, the sole inventor of U.S. Patent No. 5,609,788 (“Magnetic Paint

Additive”, issued March 11, 1997) and U.S. Patent No. 5,843,329 (“Magnetic Paint or Ink

Additive”, issued December 1, 1998), assigned his rights in both patents to Fibron, LLC on January

29, 2001. On April 20, 2005, Defendant and Fibron entered into a License Agreement (the

“Agreement”) that granted Defendant non-exclusive rights to the patents and related “Know-How”


1
 The Massachusetts Rules of Professional Conduct have been adopted by the District of Massachusetts
per Local Rule 83.6.1(a) (incorporating by reference “the Massachusetts Rules of Professional Conduct
adopted by the Massachusetts Supreme Judicial Court, as set forth as Rule 3:07 of that court.”).
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to manufacture, have made, and use and sell, magnetic paint products. The terms of the Agreement

required Defendant to pay an up-front fee of $100,000 USD and royalties equaling 3% of net sales

from April 20, 2005 until March 17, 2015 (the expiration date of the licensed patents), and 2% of

net sales from March 18, 2015 until March 17, 2020. The Agreement also provided for payment

of a minimum royalty of $20,000 in 2006, $30,000 in 2007, and $40,000 per year for the remaining

years of the Agreement, in the event that actual royalties calculated from net sales fell below these

thresholds.

       On February 15, 2006, Fibron assigned and transferred all of its rights in the ‘788 and ‘329

patents, as well as its rights in the Agreement, to Plaintiff. Defendant made the $100,000 up front

payment and paid at least part of actual royalties from 2006-2009, but from 2006-2010 did not pay

the minimum royalties required under the license. Without notifying Plaintiff of any intent to

terminate the Agreement, Defendant ceased making payments in 2010, and did not respond to

Plaintiff’s demand letters regarding royalty reports and overdue payments in August and

September of 2013. On September 27, 2013, Plaintiff sent a letter notifying Defendant that the

License Agreement would be terminated on October 27, 2013, and followed up with a letter on

February 18, 2014 confirming termination of the Agreement.

       Plaintiff alleges that Defendant continued to use Plaintiff’s “Know-How” to make and sell

the licensed products until March 17, 2015, after it stopped paying royalties and in breach of the

Agreement.

                                         Legal Standard
       Pursuant to the attorney-advocate rule, a lawyer cannot serve as counsel at trial where it

is likely he will be a necessary witness. Mass. R. Prof. Conduct 3.7. The party seeking

disqualification has the burden of showing that the lawyer is likely to be a necessary witness. A

lawyer is deemed necessary when “the proposed testimony is relevant, material, not merely

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cumulative, and unobtainable elsewhere.” Carta v. Lumbermens Mut. Cas. Co., 419 F. Supp. 2d

23, 29 (D. Mass. 2006) (citation omitted).

                                             Discussion

       Here, Defendant argues that Mr. Winters negotiated the Agreement that forms the basis

for the breach of contract action. According to Defendant, Mr. Winter’s role in these

negotiations renders him likely to be a necessary witness.

       Defendant’s argument fails for two reasons. First, Defendant has not made a sufficient

showing that Mr. Winters was a participant in negotiations. Defendant simply relies on the

conclusory allegation that “Mr. Winter negotiated the Agreement that forms the basis for this

breach of contract action.” Plaintiff points out, however, that none of the notes from the

extensive negotiations mentions Mr. Winters as a participant. To the contrary, they suggest that

Joe Deetz negotiated directly with Defendant.

       Second, even if Mr. Winters participated in the contract negotiations, Defendant has

failed to demonstrate that Mr. Winters would be a necessary witness under Rule 3.7. Joe Deetz

and Neal Barry are available witnesses that participated in the contract negotiations. Defendant

has not argued that their testimony will be inadequate or that Mr. Winters has unique knowledge

rendering his testimony indispensable. Thus, while Mr. Winter’s testimony would be relevant

and material, it is likely to be cumulative and obtainable from Mr. Deetz and Mr. Barry.

                                             Conclusion

       For the reasons stated above, I find that Defendant has not satisfied its burden of

demonstrating that Eugene Winters is a necessary witness within the meaning of Mass. R. Prof.

Conduct 3.7. Thus, Defendant’s motion (Docket No. 104) is denied.

SO ORDERED



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                                                  /s/ Timothy S. Hillman
                                               TIMOTHY S. HILLMAN
                                                     DISTRICT JUDGE




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